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                                 IN THE UNITED STATES COURT OF APPEALS
                                         FOR THE NINTH CIRCUIT

               NEO4J, INC., a Delaware                     No. 24-5538
               corporation, and NEO4J SWEDEN
               AB, a Swedish corporation,                  D. C. No. 5:18-cv-07182-EJD
                                                           U.S. District Court for Northern District
                               Plaintiffs - Appellees,     of California
               v.
                                                           DECLARATION OF JEREMY A.
               JOHN MARK SUHY,                             MOSELEY
                               Defendant - Appellant.

                        I, Jeremy A. Moseley, one of the attorneys for Plaintiffs-Appellees NEO4J,

              INC., and NEO4J SWEDEN AB (“Appellees”) in this matter, hereby declare:

                        1.    The current deadline for filing Appellees’ Answer Brief is February

              24, 2025.

                        2.    This is the second request for an extension of the Answer Brief

              deadline. The Answer Brief was originally due on January 23, 2025.

                        3.    Appellees are requesting an additional 21-day extension of time

              within which to file their Answer Brief, up to and including March 17, 2025.

                        4.    An extension is necessary because Defendant-Appellant John Mark

              Suhy’s persistent motion practice in this appeal has continuously diverted counsel

              for Appellees’ resources from the drafting of the Answer Brief, beginning with

              motions filed with the opening brief and continuing motions recently filed, as

              detailed in the motion. In addition to the persistent motion practice set forth in the
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              motion, the SFC’s amicus brief, which Appellees oppose the accompanying

              motion for leave to file, raises completely new and different arguments than are

              raised in Appellant’s opening brief. Addressing the reasons for its opposition to

              SFC’s amicus filing also immediately took time away from briefing issues on

              appeal. And Appellees now anticipate needing to address these new arguments in

              its Answer Brief. Finally, two of the three attorneys representing Appellees on this

              appeal are required to attend a firm-wide intellectual property group meeting

              between February 18 and 21, 2025. While they originally did not anticipate this to

              be a scheduling issue, the aforementioned unexpected motion practice by

              Appellant has impacted their ability to complete Appellees’ Answering Brief under

              the current schedule.

                        5.    Counsel for Appellees has diligently been working on the Answer

              Brief, and if the extension is granted, will be prepared to file the Answer Brief by

              March 17, 2025.

                        6.    I have conferred with counsel for Suhy and counsel for proposed

              amici. Counsel for FSF does not oppose the extension. Suhy opposes the extension.

                        7.    The court reporter is not in default with regard to any of the

              designated transcripts.

                        I declare under penalty of perjury under the laws of the United States of

              America that the foregoing is true and correct.


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                        Executed on February 6, 2025, at Denver, Colorado.



                                                           s/ Jeremy A. Moseley
                                                          Jeremy A. Moseley (#44830177)




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